       Case 1:21-cr-00248-RDM Document 1-1 Filed 03/09/21 Page 1 of 4




                                   STATEMENT OF FACTS

        Your affiant, Marissa Taggart, is a Special Agent with the Federal Bureau oflnvestigation.
Specifically, I am assigned to the Anchorage Field Office, Joint Terrorism Task Force. As part of
my duties as an FBI Special Agent I investigate a variety of national security matters, including
international and domestic terrorism. Currently, I am a tasked with investigating criminal activity
in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to-and did---evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
       Case 1:21-cr-00248-RDM Document 1-1 Filed 03/09/21 Page 2 of 4




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations oflocal and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On January 6, 2021, a complainant submitted a tip to the FBI National Threat Operations
Center (NTOC) regarding AARON JAMES MILEUR. The complainant stated that on January 6,
2021, MILEUR posted on Facebook, photographs and video footage of himself inside the United
States Capitol Building.

       On January 11, 2021, the complainant was interviewed. The complainant stated that the
Facebook photographs and video footage were posted onto MILEUR's Facebook account, at
facebook.com/akman2469. The complainant was a Facebook friend with one of MILEUR's
Facebook friends. The complainant provided the Facebook photographs and video footage of
MILEUR in the United States Capitol Building. The Facebook video depicted MILEUR recording
himself inside the United States Capitol Building.




       A secondary complainant submitted a tip to the FBI NTOC with a video posted on
Facebook by MILEUR. The video was posted to MILEUR's Facebook account as well as to the
Facebook group called "Save Anchorage." The video does not depict MILEUR, however the video
was recorded from inside the United States Capitol Building.
        Case 1:21-cr-00248-RDM Document 1-1 Filed 03/09/21 Page 3 of 4




        A Department of Motor Vehicles query revealed the Driver's License photograph
belonging to MILEUR, who is a resident of Alaska. The FBI determined that MILEUR's Driver's
License photograph, appear consistent with the Facebook photographs and video footage provided
by the complainants.

        On February 16, 2021, the FBI obtained records from a telecommunications provider
revealing that the cellular phone number (***) ***-6505 belonged to MILEUR as the subscriber
since November 25, 2015. Moreover, the FBI lawfully obtained information from Facebook,
revealing that the subscriber associated with the abovementioned Facebook account was in fact
MILEUR. In addition, the telephone number above - (***) ***-6505 - was connected to
MILEUR's account too.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
MILEUR violated 18 U.S.c. § 1752(a)(l) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
      Case 1:21-cr-00248-RDM Document 1-1 Filed 03/09/21 Page 4 of 4




functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a "restricted building" includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conj unction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that MILEUR violated 40
U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in anx of the Capitol Buildings.



                                                      S Marissa Taggart
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of March 2021.                                    Digitally signed by G.
                                                                             Michael Harvey
                                                                             Date: 2021.03.09
                                                                             13:04:32 -05'00'
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
